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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Shenequia Jones,

                   Plaintiff,                        Case No.: 1:18-cv-08357

        vs.
                                                     JOINT STATUS REPORT
Equifax Information Services, LLC,
Trans Union, LLC,
GFS II LLC,
Heights Finance Corporation, and
RAC Acceptance East, LLC,

                   Defendants.




(1)      The Nature of the Case:

         a.    Attorneys of record:

               •   Brian J. Olszewski representing Plaintiff.

               •   Misty L. Peterson (Lead), Tameika L. Montgomery, Rodney L. Lewis and Mary

                   K. Curry representing Defendant Equifax Information Services, LLC

                   (“Equifax”).

               •   Erik J. Jones (Lead), Justin T. Walton, and Michael Joseph Sreenan

                   representing Defendant Trans Union, LLC (“Trans Union”).

               •   Erin L. Hoffman (Lead), Jessica Z. Savran and Sean J. Powell representing

                   Defendant RAC Acceptance East, LLC (“RAC”).

               •   James V. Noonan (Lead) and Brendan W. McClelland representing Defendant

                   GFS II LLC (“GFS”).
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         •   Brett J. Ashton representing Defendant Heights Finance Corporation (“Heights

             Finance”).

   b.    Jurisdictional basis for case: Jurisdiction of this court arises under 15 U.S.C.

         §1681p. This is an action brought by a consumer, alleging violations of the Fair

         Credit Reporting Act.

   c.    Nature of claims:

         PLAINTIFF

         This case revolves around violations for the Fair Credit Reporting Act 15 U.S.C. §

         1681 et seq. (“FCRA”). Plaintiff asserts that Defendants Heights Finance and RAC

         have failed to remove monthly payments on their tradelines after receiving

         Plaintiff’s dispute. The accounts reflected by the Heights Finance and RAC

         tradelines are charged off and closed, and Plaintiff no longer has an obligation to

         make monthly payments. Plaintiff further asserts that Defendant GFS has failed to

         report the correct notation of bankruptcy discharge on its tradeline after receiving

         Plaintiff’s consumer dispute. Without the bankruptcy notation, creditors would be

         misled to believe that these accounts are open and active, when in fact, they are

         closed and no longer the Plaintiff’s obligation. These furnishers have negligently

         and willfully failed to conduct a reasonable investigation of Plaintiff’s dispute as

         required by 15 U.S.C. § 1681s-2(b).

                Regarding, Equifax and Trans Union (“CRAs”), Plaintiff asserts that they

         negligently and willfully failed to maintain and/or follow reasonable procedures to

         assure maximum possible accuracy of the information reported, in violation of 15

         U.S.C. §1681e(b). Plaintiff further asserts that after receiving Plaintiff’s dispute,


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         the CRAs negligently and willfully failed to conduct a reasonable reinvestigation

         as required by 15 U.S.C. 1681i.

                Plaintiff seeks actual damages, statutory damages, costs, attorneys’ fees and

         removal of the erroneous information from her credit files.

         DEFENDANTS

         Defendant Equifax Information Services LLC: Equifax is a consumer reporting

         agency, as that term is defined in the FCRA, and is regularly engaged in the

         preparation of consumer reports as defined by § 1681a(f).          Equifax denies

         Plaintiff’s claims and denies that it violated the FCRA. Equifax reported the status

         of Plaintiff’s disputed tradeline(s) accurately at all times relevant in this case.

         Equifax admits that it reasonably reinvestigated Plaintiff’s dispute within the time

         allotted under the FCRA. Equifax maintained reasonable procedures to assure

         maximum possible accuracy in its consumer reports concerning Plaintiff, if any.

         Equifax denies that it caused any damage to Plaintiff and denies that Plaintiff is

         entitled to any of the relief sought in the Complaint. Equifax has not completed its

         investigation concerning the facts and circumstances surrounding this case and this

         statement of facts and defenses is based on facts currently known to Equifax.

         Equifax makes this statement without waiving any defense and reserves the right

         to supplement this statement as the facts are developed.

         Defendant Trans Union, LLC: Plaintiff wrongly claims that consumer reporting

         agency Trans Union is liable under the Fair Credit Reporting Act for accurately

         reporting her RAC (opened in 2014) and Heights Financial (opened in 2013)

         accounts as charged off and closed with no past due balances with her past



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         respective monthly payments of “$144 per month, paid Monthly for 33 months”

         and “$78 per month, paid Monthly for 15 months.” Case law holds that accuracy is

         a complete defense to Plaintiff’s FCRA claims and Plaintiff’s subjective belief that

         the accurate reporting was somehow misleading is not sufficient to support a claim

         of inaccuracy. Case law holds that accuracy is a complete defense to Plaintiff’s

         FCRA claims and Plaintiff’s subjective belief that the accurate reporting was

         somehow misleading is not sufficient to support a claim of inaccuracy.

                  Plaintiff also incorrectly claims Trans Union is liable for accurately

         reporting Plaintiff’s Chapter 7 Bankruptcy as “discharged” and accurately her GFS

         account as “included in” that discharged bankruptcy with no account or past due

         balances, but without the single extra word “discharged.” Plaintiff’s claims will fail

         because the White federal class action settlement held that Trans Union’s reporting

         is “conclusively deemed to comply with the FCRA.” Plaintiff’s claims further fail

         because Plaintiff has not and cannot allege, as required, that Trans Union’s

         reporting of the account as “included in bankruptcy” with no account or past due

         balances is in any way misleading, which is a prima facie element of an FCRA

         claim.

                  Plaintiff disputed the monthly payment terms of RAC and Heights Financial

         and the bankruptcy status of GFS with Trans Union only once. Trans Union

         conducted a reasonable reinvestigation as required by the FCRA and sent its

         reinvestigation results to Plaintiff.




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                 Finally, Plaintiff has a poor credit history and will be unable to show that

         the reporting of the disputed accounts caused her any emotional distress or were the

         required “substantial factor” in any claimed credit denials.

         Defendant RAC: For purposes of this case, defendant RAC is a “furnisher” of

         consumer information as that term is used in 15 U.S.C. § 1681s-2(b). RAC denies

         that it is liable to plaintiff in this matter, and believes that plaintiff cannot prove that

         the actions or inactions of RAC caused her alleged damages. RAC has not

         completed its investigation concerning the facts and circumstances surrounding this

         case and this statement of facts and defenses is based on facts currently known to

         RAC. RAC makes this statement without waiving any defense and reserves the

         right to supplement this statement as the facts are developed.

         Defendant Heights Finance Corporation: For purposes of this case, defendant

         Heights Finance is a “furnisher” of consumer information as that term is used in 15

         U.S.C. § 1681s-2(b). Heights Finance denies Plaintiff’s claims and denies that it

         violated the FCRA. Heights Finance denies that it caused any damage to Plaintiff

         and denies that Plaintiff is entitled to any of the relief sought in the Complaint.

         Heights Finance has not completed its investigation concerning the facts and

         circumstances surrounding this case and this statement of facts and defenses is

         based on facts currently known to Heights Finance. Heights Finance makes this

         statement without waiving any defense and reserves the right to supplement this

         statement as the facts are developed.

         Defendant GFS:           For purposes of this case, defendant GFS is a “furnisher” of

         consumer information as that term is used in 15 U.S.C. § 1681s-2(b). GFS denies



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                  Plaintiff’s claims and denies that it violated the FCRA. GFS denies that it caused

                  any damage to Plaintiff and denies that Plaintiff is entitled to any of the relief sought

                  in the Complaint. GFS has not completed its investigation concerning the facts and

                  circumstances surrounding this case and this statement of facts and defenses is

                  based on facts currently known to GFS. GFS makes this statement without waiving

                  any defense and reserves the right to supplement this statement as the facts are

                  developed.

(2)      Pending Motions and Case Plan:

         a.       Pending motions: None at this time.

         b.       Mandatory Initial Discovery Pilot Project (“MID”): The parties confirm that we

                  have read the MID. Currently, there are no disagreements regarding the MID and

                  each party is compliant with the MID.

         c.       Proposed Discovery Plan:

                i.    Discovery will be needed on all allegations, claims, theories of liability,

                      damages, and affirmative defenses alleged in the Complaint and Answers.

                      Discovery will be conducted by (including but not limited to) Interrogatories,

                      Requests for Admission, Requests for Production of Documents, and

                      Depositions.

              ii.     Written discovery will be issued by April 23, 2019.

              iii.    At this time, the parties do not anticipate expert discovery relevant to

                      dispositive liability motions. However, the parties reserve the right to seek

                      leave to conduct such expert discovery should fact discovery reveal good cause

                      for doing so.



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        iv.       Liability discovery will be completed by October 29, 2019.

         v.       Pleadings will be amended by May 24, 2019.

        vi.       The parties agree that the scheduling of expert discovery relevant to damages

                  should be deferred until it becomes necessary for a hearing or trial.

        vii.      At this time, the parties are not seeking any extension of this schedule.

   d.          E-Discovery:

          i.      Electronically Stored Information (“ESI”): The parties do not believe that

                  this case is suitable for electronic discovery. However, the parties agree to

                  produce any electronically stored information, to the extent it is responsive to

                  any proper discovery requests, in paper copy or PDF format as an initial matter.

                  If necessary, the parties agree to confer with one another regarding any

                  additional exchange or production.

         ii.      The parties do not anticipate any issue regarding electronically stored

                  information. Plaintiff and Defendants shall serve any Requests for Production

                  pursuant to Fed. R. Civ. P. 34. Plaintiff and Defendants shall respond in good

                  faith, producing such documents as it locates through a reasonable search in the

                  format described in (2)d.i. above. If after a reasonable review of the production,

                  Plaintiff or any Defendants determine, in good faith, that additional information

                  is needed, the parties will discuss the specific information sought and attempt

                  to reach agreement on a search method to determine if the information sought

                  can be located or confirmed not to exist. If the parties cannot reach an

                  agreement, Plaintiff or any Defendants may raise the issue with the Court




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                     through a request for discovery conference, a motion to compel, or a motion for

                     protective order.

              iii.   The parties have reviewed the information regarding the Voluntary E-

                     Mediation Program.

         e.      Trial: Plaintiff has requested a jury trial, which is not contested by Defendants.

                 Parties estimate that trial will take 2-3 days.

(3)      Consent to Proceed Before a Magistrate Judge: The parties do not unanimously consent

         to the referral of this matter to a United States Magistrate Judge for all matters in the case,

         including dispositive motions and trial.

(4)      Status of Settlement Discussions:

         a.      Heights Finance has made an offer of settlement to the Plaintiff that is currently

                 under consideration.

         b.      The other parties have not engaged in settlement discussions but intend to do so

                 immediately following the submission of this Joint Report.

         c.      At this time, the parties do not request a settlement conference before the Magistrate

                 Judge.




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Respectfully submitted,

/s/ Brian J. Olszewski                      /s/ Erik J. Jones, Esq.
Brian J. Olszewski                          Erik J. Jones, Esq. (IL #34657-53)
Law Offices of Michael Lee                  Justin. T. Walton, Esq. (IL #29540-49)
Tinaglia, Ltd.                              Schuckit & Associates, P.C.
444 N. Northwest Hwy., Ste. 350             4545 Northwestern Drive
Park Ridge, IL 60068                        Zionsville, IN 46077
Telephone: (847) 692-0421                   Telephone: (317) 363-2400
Fax: (847) 685-8440                         Fax: (317) 363-2257
bolszewski@tinaglia.com                     ejones@schuckitlaw.com
Counsel for Plaintiff                       jwalton@schuckitlaw.com
                                            Counsel for Defendant Trans Union, LLC

/s/ Misty L. Peterson                       Michael Joseph Sreenan, Esq.
Misty L. Peterson                           (IL ARDC #6194288)
Tameika Montgomery                          Michael J. Sreenan, P.C.
King & Spalding LLP                         1341 West Fullerton Avenue, No. 175
1180 Peachtree Street NE                    Chicago, IL 60614
Atlanta, GA 30309                           Telephone: (773) 549-8700
Telephone: (404)572-4600                    Fax: (773) 304-1999
TMontgomery@KSLAW.com                       msreenan@sreenanpc.com
mpeterson@KSLAW.com                         Local Counsel for Defendant Trans Union,
Counsel for Defendant Equifax               LLC
Information Services LLC

Rodney L. Lewis                             /s/ Jessica Z. Savran
Mark Kathryn Curry                          Erin L. Hoffman (MN No. 0387835)
Polsinelli PC                               Jessica Z. Savran (MN No. 0348983)
150 North Riverside Plaza, Suite 3000       Faegre Baker Daniels LLP
Chicago, IL 60606                           2200 Wells Fargo Center
Telephone: (312)819-1900                    90 South Seventh Street
Fax: (312)819-1910                          Minneapolis, MN 55402
rodneylewis@polsinelli.com                  Telephone: (612) 766-7000
mkcurry@polsinelli.com                      Fax: (612) 766-1600
Local Counsel for Defendant Equifax         Erin.hoffman@FaegreBD.com
Information Services LLC                    Jessica.savran@FaegreBD.com
                                            Counsel for RAC Acceptance East, LLC




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/s/ James V. Noonan                          Sean J. Powell (ARDC No. 6324518)
James V. Noonan #6200366                     311 S. Wacker Drive, Suite 4300
Brendan McClelland #6288863                  Chicago, Illinois 60606
Noonan & Lieberman, Ltd.                     Telephone: (312) 356-5108
105 W. Adams, Suite 1800                     Fax: (312) 212-6501
Chicago, IL 60603                            Sean.powell@FaegreBD.com
Telephone: (312) 431-1455                    Local Counsel for RAC Acceptance East, LLC
jnoonan@noonanandlieberman.com
bmcclelland@noonanandlieberman.com
Counsel for Defendant GFS II, LLC

/s/ Brett J. Ashton
Brett J. Ashton
Krieg Devault LLP
One Indiana Square
Suite 2800
Indianapolis, IN 46204
bashton@kdlegal.com
Counsel for Defendant Heights Finance
Corporation




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                               CERTIFICATE OF SERVICE
       I, the undersigned, certify that I filed the foregoing Joint Status Report through the Court’s
CM/ECF system, which will cause electronic notification of this filing to be sent to all parties of
record on March 28, 2019.


                                                   By: /s/ Brian J. Olszewski
                                                     Brian J. Olszewski (#6283673)
                                                     Law Office of Michael Lee Tinaglia, Ltd.
                                                     444 N. Northwest Highway, Suite 350
                                                     Park Ridge, IL 60068
                                                     Phone: 847-692-0421
                                                     Fax: 847-685-8440
                                                     BOlszewski@tinaglialaw.com


                                                      Of Counsel to:
                                                      Credit Repair Lawyers of America
                                                      22142 West Nine Mile Road
                                                      Southfield, MI 48033
                                                      Telephone: (248) 353-2882
                                                      Facsimile: (248) 353-4840

                                                      Attorney for Plaintiff,
                                                     Shenequia Jones




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